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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


 NETWORK-1 TECHNOLOGIES, INC.

                    Plaintiff,
                                                  C.A. NO. 22-cv-1320-MN
 vs.
                                                  JURY TRIAL DEMANDED
 HONEYWELL INTERNATIONAL INC.,

                   Defendant.

                MOTION AND ORDER FOR ADMISSION PRO HAC VICE

       Pursuant to Local Rule 83.5 and the attached certification, counsel moves the admission

pro hac vice of Sean Luner of Dovel & Luner, LLP to represent Plaintiff Network-1

Technologies, Inc. in this matter.

Dated: April 8, 2024                               Respectfully submitted,


                                                   FARNAN LLP

                                                   /s/ Brian E. Farnan
                                                   Brian E. Farnan (Bar No. 4089)
                                                   919 N. Market Street, 12th Floor
                                                   Wilmington, Delaware 19801
                                                   (302) 777-0300
                                                   bfarnan@farnanlaw.com

                                                   Attorneys for Plaintiff Network-1
                                                   Technologies, Inc.

                                 ORDER GRANTING MOTION

       IT IS HEREBY ORDERED counsel’s motion for admission pro hac vice is granted.


Date: ________________________                      _________________________________
                                                          United States District Judge
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         CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

        Pursuant to Local Rule 83.5, I certify that I am eligible for admission to this Court, am
admitted, practicing and in good standing as a member of the Bar of California and pursuant to
Local Rule 83.6 submit to the disciplinary jurisdiction of this Court for any alleged misconduct
which occurs in the preparation or course of this action. I also certify that I am generally familiar
with this Court’s Local Rules. I further certify that the fee of $50.00 has been paid to the Clerk of
Court, or, if not paid previously, the fee payment will be submitted X to the Clerk’s Office
upon the filing of this motion.


Date: April 5, 2024
                                                              Sean Luner
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                                                              201 Santa Monica Blvd., Suite 600
                                                              Santa Monica, CA 90401
                                                              Tel: 310-656-7066
                                                              sean@dovel.com
